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OPERATION IN OUR SITES targetsInternetmovie pirates   http:/e w.ice.gov/news/releases/loo6/loo63olosangeles.htm




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